       Case 1:21-cr-01326-MV Document 38 Filed 11/27/21 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO


 UNITED STATES OF AMERICA,

                       Plaintiff,

 vs.                                                 21-cr-1326 MV

 EPIFANIO ESPINOSA,

                       Defendant.

                       NOTICE OF ENTRY OF APPEARANCE
                        AND SUBSTITUTION OF COUNSEL

       Wayne Baker, Esq., hereby provides notification to the Court and to all parties of my

notice of appearance on behalf of Epifanio Espinosa for all purposes in this case as Mr.

Espinosa’s retained counsel of choice and record and in substitution of Monnica Lynn

Barreras, Esq., who was appointed CJA Counsel on November 22, 2021.

       Accordingly, it is hereby requested that all notices, pleadings and correspondence on

behalf of Epifanio Espinoza in this case be delivered to the attentionof Wayne Baker, Esq.

Respectfully submitted:
Wayne Baker                                         I certify that I electronically filed the
Wayne Baker, Esq.                                   foregoing with the Clerk of the Court
14112 Piedras Road, NE                              November 27, 2021, using the CM/ECF
Albuquerque, NM 87123-2323                          system.
(505) 652-4222                                      Wayne Baker
Attorney for Defendant Epifanio Espinosa            Wayne Baker, Esq.
